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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 18-60403-CIV- MOORE

 ABS-CBN CORPORATION, et al.,
                Plaintiffs,
 vs.

 ANGPROBINSYANO1.COM, et al.,
                Defendants.
                                                  /

                               PLAINTIFFS’ MOTION TO SEAL

         Pursuant to Local Rule 5.4, Plaintiffs, ABS-CBN Corporation, ABS-CBN Film

 Productions, Inc. d/b/a Star Cinema, and ABS-CBN International, submit this Motion to Seal

 Plaintiffs’ Ex Parte Motion [DE 6] together with the supporting Declarations and Exhibits

 (together, the “Ex Parte Motion”), and the Court’s Order regarding the same, in accordance with

 Local Rule 5.4(b) and (d).

         Good cause exists for the foregoing Order. The named Defendants are promoting,

 advertising, offering for distribution, offering for performance, distributing, and/or performing

 Plaintiffs’ copyrighted works under counterfeit and infringing versions of Plaintiffs’ world-

 famous trademarks. As specifically set forth in Paragraph 5 of the Declaration of Christine Ann

 Daley         in        Support        of        Plaintiffs’       Ex         Parte        Motion,

 Plaintiffs’ Ex Parte Motion and the Court’s Order regarding the same should be filed under seal

 to prevent Defendants from receiving notice of Plaintiffs’ investigation into the operation of their

 illegal businesses.

         Plaintiffs request that the Ex Parte Motion [DE 6], its supporting Declarations and

 Exhibits, and the Court’s Order granting the same remain under seal until the Plaintiffs have an


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 opportunity to file their Ex Parte Application as explained in Paragraph 5 of the Declaration of

 Christine Ann Daley in Support of Plaintiffs’ Ex Parte Motion.

 DATED: February 26, 2018.           Respectfully submitted,

                                     STEPHEN M. GAFFIGAN, P.A.

                                     By: _ s/ Christine Ann Daley _____
                                     Stephen M. Gaffigan (Fla. Bar No. 025844)
                                     Virgilio Gigante (Fla. Bar No. 082635)
                                     Christine Ann Daley (Fla. Bar No. 98482)
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